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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, .                       )   Magistrate Docket No. 22MJ3758-BLM
                                                  )
                          Plaintiff,
                                                  )
                                V.                )   COMPLAINT FOR VIOLATION OF:
                                                  )   Title 8, U.S.C. § 1324(a)(l )(A)(i i)
                                                  )   Transportation of Illegal Aliens
                                                  )
Issak Isaiah MONGE,                               )   Title 18 U.S .C. & 11 l(a)(l) and (b) -
                                                      Assault on a Federal Offi cer (Fe1ony)
                                                  )
                                                  )
                                                  )
                       Defendant.                 )
                                                  )
                                                  )

       The undersigned complainant being, duly sworn, states:

                                         Count One

On or about October 13, 2022, within the Southern District of California, defendant Issak
Isaiah MONGE, with the intent to violate the immigration laws of the United States, knowing
or in reckless disregard of the fact that certain aliens, namely, Elvis HERNANDEZ-Perez
Adolfo PEREZ-Silvestre and, had come to, entered and remained in the United States in
violation of law, did transport and move, said aliens within the Uni_ted States in furtherance of
such violation of law; in violation of Title 8, United States Code, Section l 324(a)(l )(A)(ii).
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                                         Count Two

  On or about October 13, 2022, within the Southern District of California, defendant, Issak
  Isaiah MONGE, did intentionally and forcibly assault, a person named in 18 U.S .C. Section
  1114, namely Department of Homeland Security, Customs and Border Protection, United
  States Border Patrol, Supervisor Border Patrol Agent J. Hilsenroth, such acts involving use
  of a dangerous weapon to wit: Defendant assaulted Agent Hilsenroth by accelerating his
  vehicle directly toward Agent Hilsenroth while engaged in the performance of his official
  duties; in violation of Title 18, United States Code, Section 11 l(a)(l) and (b) a felony.

 And the complainant further states that this complaint is based on the attached probable cause
 statement, which is incorporated herein by reference.




SWORN AND ATTESTED TO UNDER OATH BY TEL PHONE, IN ACCORDANCE WITH
FEDERAL RULE OF CRIMINAL PROCEDURE 4.1 , 0 OCTOBER 14, 2022.




                                                     HO . BARBARA L. MAJOR
                                                     Unit d States Magistrate Judge
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CONTINUATION OF COMPLAINT:
Issak Isaiah MONGE



                              PROBABLE CAUSE ST TEMENT
The complainant states that Elvis HERNANDEZ-Perez and Adolfo PEREZ-Silvestre, are
citizens of a country other than the United States; thats id aliens have admitted that they are
deportable; that their testimony is material, that it is imr:1 acticable to secure their attendance at
the trial by subpoena; and they are material witnesses in relation to this criminal charge and
should be held or admitted to bail pursuant to Title 18, nited States Code, Section 3144.

On October 13, 2022, Border Patrol Agent H. Foell was working assigned duties at the Brown
Field Border Patrol Station. At approximately 10:09 A:rr1, Agent Foell received an alert from a
visual detection device and observed two individuals ruJming towards a black Range Rover and
informed agents via service radio of his observations. ~order Patrol Agent A. Castillo was near
Cochera Via Drive and observed the Range Rover. Ag~t Castillo began to follow the Range
Rover and requested records through San Diego Sector ispatch. Agent Castillo was notified
that the Range Rover was involved in a failure to yield TY) incident a few weeks prior and
was advised that the Brown Field State Route 94 Borde Patrol Checkpoint was operational, and
agents would be standing by for the vehicle.

Border Patrol Agent E. Penagos was assigned to primar inspection at the checkpoint and at
approximately 10 :20 AM, the range Rover arrived at prr1ary. Agent Penagos placed a Vehicle
Immobilization Device (YID) by the front driver side tit and approached the driver.
Supervisory Border Patrol Agent E . Guerrero approach d the vehicle from the passenger side
and placed a YID in front of the passenger side tire. Alnt Penagos asked the driver, later
identified as the defendant, Issak Isaiah MONGE, to lo er the rear windows. Monge said
" Yes" and accelerated, running over both YID' s, and er shing into the concrete barrier by
Agent Guerrero. MONGE continued driving at a high r te of speed almost striking other
vehicles exiting the checkpoint. Supervisory Border Pat ol Agent J. Hilsenroth, was in the
secondary inspection area getting a YID out of the back of his vehicle, when the Range Rover
driven by MONGE swerved directly at Agent Hilsenrot causing him to run out of the way to
avoid being hit.

Agent Hilsenroth got into his vehicle and began to purs e the Range Rover. Agent Hilsenroth
attempted tlu·ee Precision Immobilization Technique (P T) maneuvers without success. After
                                                            1




the final PIT maneuver, the Range Rover slowed down, causing Agent Hilsenroth to pass the
Range Rover and his vehicle' getting struck from behin by the Range Rover. Agent
Hilsenroth slowed to stop causing the Range Rover to pull over. MONGE was removed from
the vehicle and at approximately 10:35 AM, Agent Hilsbnroth placed MONGE under arrest.
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CONTINUATION OF COMPLAINT:
Issak Isaiah MONGE




Border Patrol Agent F. Gaspar who was assisting in the ehicle pursuit, approached the Range
Rover and saw two individuals trying to conceal themse ves in the rear seats. Agent Gaspar
identified himself as a Border Patrol Agent and conductf d an immigration inspection on both
individuals, later identified as material witnesses, Elvis ~RNANDEZ-Perez, and Adolfo
PEREZ-Silvestre. HERNANDEZ and PEREZ stated th t they are citizens of Mexico without
immigration documents allowing then to enter or remai in the United States legally. At
approximately 10:35 AM, Agent Gaspar placed HERN NDEZ and PEREZ under an-est.

On October 13, 2022, material witnesses Elvis HERNA          EZ-Perez and Adolfo PEREZ-
Silvestre stated they are citizens of Mexico without pro ,er immigration documentation allowing
them to enter or remain in the United States legally. HERNANDEZ and PEREZ stated
smuggling a1Tangements were made prior to entering th~ United States. HERNA1\TDEZ and
PEREZ stated they were going to pay approximately $16,000 USD if successfully smuggled
into the United States. HERNANDEZ and PEREZ statJd there was a foot guide in the group,
but once they entered the vehicle the foot guide walked ack to Mexico. HERNANDEZ and
PEREZ stated the foot guide told them it would be a black, four door vehicle. HERNANDEZ
and PEREZ stated when they entered the vehicle, the dr ver instructed them to lay down in the
Spanish language. HERNANDEZ and PEREZ stated o~ce they got to the checkpoint, agents
approached the vehicle and the driver sped off. HERNANDEZ stated he felt like the driver hit
something and he heard a pop. HERNANDEZ and PEREZ stated they heard the tires were flat
and the driver kept on going. PEREZ stated he fe lt that the driver hit two vehicles.
HERNANDEZ and PEREZ stated they were scared for heir life. HERNANDEZ was shown a
photographic line up and was able to positively identify MONGE as the driver of the vehicle in
this event.
